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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF INDIANA
                                 FORT WAYNE DIVISION

  UNITED STATES OF AMERICA                     )
                                               )
         v.                                    )       1:09-CR-62-TLS
                                               )
  ADRIAN LEE                                   )

                                      OPINION AND ORDER

         This matter is before the Court on the parties’ Stipulation Regarding Pending Objections

  and Drug Quantity Pursuant to Sentencing Guidelines [ECF No. 312], filed on October 24, 2011.

  The Stipulation was filed in anticipation of this Court sentencing Defendant Adrian Lee for

  conspiracy to distribute cocaine.



                                          BACKGROUND

         On January 26, 2011, the Government filed a Superseding Indictment [ECF No. 178]

  against Defendant Adrian Lee and six Co-defendants. The Superseding Indictment charged Lee

  with knowingly and intentionally conspiring with others from on or about July 14, 2008, to on or

  about May 27, 2009, to distribute cocaine in violation of 21 U.S.C. § 846; knowingly and

  intentionally possessing with intent to distribute cocaine on or about May 27, 2009, in violation

  of 21 U.S.C. § 841(a)(1); and possessing a firearm from on or about April 24, 2009, to May 27,

  2009, in furtherance of the charged drug offenses, in violation of 18 U.S.C. § 924(c). On June

  15, 2011, the Defendant entered a plea of guilty to Count 1, the conspiracy charge, and the Court

  adjudged him guilty on July 5. In his written Plea Agreement [ECF No. 237] with the

  Government, the Defendant agreed that he was guilty of conspiracy to distribute cocaine in

  violation of 21 U.S.C. § 846, but he was “not agreeing to a quantity of five (5) kilograms or
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  more.” (Plea Agreement ¶ 8.a, ECF No. 237.) The parties further agreed that “the Court will

  determine the applicable drug quantity at sentencing.” (Id.)

         The United States Probation Officer has prepared a Presentence Investigation Report

  (PSR) for the Court. The Offense Conduct section of the PSR reported that through surveillance

  and other investigation, including a wiretap, law enforcement learned that the Defendant was one

  of the individuals making deliveries of cocaine at the request of Co-defendant Andre Hutchins.

  The PSR cited evidence that the Defendant delivered or packaged cocaine on April 25, 27, 28

  and May 16, 2009, as examples of his activity and involvement in the charged conspiracy.

  During a search conducted on May 27, 2009, officers recovered from the Defendant’s residence

  two baggies of cocaine and a handgun. A second handgun was recovered from the Defendant’s

  car. In paragraph 26 of the PSR, the probation officer stated that she had reviewed “the

  Government’s case files which contained investigative reports from the Federal Bureau of

  Investigation, Drug Enforcement Agency and Indiana State Police Laboratory,” that the “case

  reports corroborate the version submitted by the Government,” and that “[a] comprehensive

  review of the electronic surveillance records indicates the cocaine amount involved in the

  defendant’s offense of conviction, including relevant conduct was at least five (5) kilograms but

  not more than 15 kilograms.” (PSR ¶ 26, ECF No. 304.) The officer then wrote:

         Pursuant to U.S.S.G. §1B1.3 (a)(1)(B), in the case of a jointly undertaken criminal
         activity (a criminal plan, scheme, endeavor, or enterprise undertaken by the
         defendant in concert with others, whether or not charged as a conspiracy), [relevant
         conduct includes] all reasonable foreseeable acts and omissions of others in
         furtherance of the jointly undertaken criminal activity, that occurred during the
         commission of the offense of conviction, in preparation for that offense, or in the
         course of attempting to avoid detection or responsibility for that offense.
         Investigative documents revealed the conspiracy is accountable for distribution of
         at least five (5) kilograms of cocaine. After careful review of the investigative
         documents, this officer was unable to find evidence or an aggregate amount of

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         cocaine exceeding 15 kilograms.

  (PSR ¶ 27.) Based on a quantity of cocaine between 5 and 15 kilograms, the base offense level

  was set at 32. (PSR ¶ 34.) Pursuant to U.S.S.G. §2D1.1(b)(1), the offense level was increased by

  2 levels for the Defendant’s possession of a firearm. (PSR ¶ 35.) The offense level was reduced

  by three points for acceptance of responsibility, leaving an adjusted total offense level of 31. The

  Defendant’s criminal history category of I yielded a Guideline range of 108 to 135 months

  imprisonment.

         The Defendant has lodged three objections to the PSR. First, he objects to the

  Government’s version of the Offense Conduct, namely the specific time frames listed, the

  cocaine amounts attributable to him, and the inclusion of the seized firearms, which led to the

  weapon enhancement. Second, the Defendant argues that he is not responsible for between 5 and

  15 kilograms of cocaine as reasonably foreseen quantities involved in jointly undertaken

  criminal activity. Last, he argues that he is eligible for a downward adjustment for his minimal

  role in the offense. In response to these objections, the Government argues that the Offense

  Conduct appropriately included the sequential succession of criminal activity committed by the

  Defendant and other conspirators over the course of the conspiracy. The Government notes that

  the Defendant possessed a handgun in conjunction with the cocaine stored in his bedroom and

  also had a handgun in the vehicle used to perform the cocaine deliveries, both of which were

  readily available as a means of protection. In response to the Defendant’s objection regarding

  relevant conduct and the quantity of cocaine, the Government asserts that the Defendant aided

  the conspiracy by serving as a delivery person, offering a stash location, and packaging cocaine

  for other deliveries. The Government contends that, because the Defendant handled multi-ounce


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  quantities of cocaine, he could have reasonably foreseen the jointly undertaken activity to

  involve more than 5 kilograms of cocaine. Finally, the Government agrees that the Defendant is

  entitled to a two level minor participant reduction, but only if he is held accountable for the

  jointly undertaken distribution of more than 5 kilograms of cocaine. The Government states that

  if the Defendant is only held accountable for the quantities he personally packaged and

  delivered, then no such reduction should be applied. The probation officer did not revise the

  PSR.

         Upon request of the parties, the Court scheduled an evidentiary hearing to resolve the

  pending objections, particularly with respect to the drug quantities. The Court vacated the

  hearing after the parties filed a Stipulation “to resolve all pending objections, subject to the

  approval of the Court.” (Stipulation 1, ECF No. 312.) The Defendant and the Government agree

  that, “for purposes of applying U.S.S.G. § 2D1.1, the amount of cocaine involved in the

  Defendant’s offense of conviction including relevant conduct was at least 500 grams but less

  than 2 kilograms.” (Id.) “The parties further agree that the gun enhancement in U.S.S.G. §

  2D1.1(b)(1) was appropriately assessed and that there should be no role reduction.” (Id.) If the

  Court accepts the Stipulation regarding the Guideline calculations, the Defendant’s offense level

  will be 25 and his Guideline range will be 57 to 71 months of imprisonment. The Government

  has agreed to recommend the low end of the advisory Guideline range. The Defendant has

  agreed that no grounds exist to support a variance and that a Guideline sentence is fair and

  reasonable.




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                                                 ANALYSIS

             A district court’s duties at sentencing are twofold: first, the court must correctly calculate

  the applicable guidelines range; secondly, it must make an individualized assessment of the

  defendant, in light of the sentencing factors listed in 18 U.S.C. § 3553(a), to arrive at a

  reasonable sentence and adequately explain the chosen sentence to allow for meaningful review.

  Gall v. United States, 552 U.S. 38 (2007); see also United States v. Farmer, 543 F.3d 363, 375

  (7th Cir. 2008) (“Although the Guidelines are advisory, a district court must accurately calculate

  and consult the defendant’s Guidelines range.”).

             A stipulation is a contract between two parties to agree that a certain fact is true.

  Analytical Eng’g, Inc. v. Baldwin Filters, Inc., 425 F.3d 443, 453 (7th Cir. 2005). The

  Stipulation Regarding Pending Objections and Drug Quantity Pursuant to Sentencing Guidelines

  stipulates that the quantity of cocaine involved was at least 500 grams but less than 2 kilograms.

  The remaining two agreements resolve objections to the PSR related to the application of the gun

  enhancement and the mitigating role reduction and act, in essence, as withdrawals of the

  objections related to these Guideline factors. The parties’ agreements with regard to these

  objections involve combined questions of law and fact. The Court will address each stipulation

  in turn.



  A.         Quantity of Drugs

             “A defendant’s base offense level for a narcotics offense is defined primarily by the

  amount of drugs attributable to the defendant. The Government bears the burden of proving the

  quantity of drugs attributable to the defendant by a preponderance of the evidence.” United


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  States v. Dean, 574 F.3d 836, 844 (7th Cir. 2009) (citations and brackets omitted). In calculating

  a defendant’s offense level, the court considers the offense of conviction and any conduct

  relevant to the offense. “Relevant conduct” under the Guidelines encompasses two categories of

  conduct. First, it includes acts and omissions committed by the defendant. U.S.S.G.

  §1B1.3(a)(1)(A). Second, in the case of a “jointly undertaken criminal activity,” relevant conduct

  includes the “reasonably foreseeable acts and omissions of others in furtherance of” such

  activity. U.S.S.G. §1B1.3(a)(1)(B). “In applying U.S.S.G. § 1B1.3(a)(1)(B), the district court

  must make a preliminary determination of the scope of the criminal activity the defendant agreed

  to jointly undertake.” United States v. Salem, 597 F.3d 877, 886 (7th Cir. 2010) (citing United

  States v. Fox, 548 F.3d 523, 531–32 (7th Cir. 2008) & United States v. Thomas, 199 F.3d 950,

  953 (7th Cir. 1999)). “Then the court must make a two-part determination of whether the

  conduct of others was both in furtherance of that joint criminal activity and reasonably

  foreseeable to the defendant in connection with the joint criminal activity.” Id.

         The application notes related to relevant conduct provide, with respect to offenses

  involving controlled substances, that the defendant is accountable for all quantities of contraband

  with which he was directly involved and, in the case of jointly undertaken criminal activity, all

  reasonably forseeable quantities that were within the scope of the criminal activity that he jointly

  undertook. U.S.S.G. §1B1.3 Note 2. A defendant’s relevant conduct does not include the conduct

  of members of a conspiracy prior to the defendant joining the conspiracy. Id. In addition, the

  scope of criminal activity undertaken by a defendant is not necessarily the same as the scope of

  the entire conspiracy. Id.; see also United States v. Soto-Piedra, 525 F.3d 527, 531–32 (7th Cir.

  2008) (noting that conspiracy should not be equated to jointly undertaken activity because a


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  defendant could have joined a conspiracy without having joined in or agreed to all the activities

  undertaken by it). One illustration from the Guidelines highlights the importance of finding that

  activity was jointly undertaken before including it as relevant conduct:

         Defendant O knows about her boyfriend’s ongoing drug-trafficking activity, but
         agrees to participate on only one occasion by making a delivery for him at his request
         when he was ill. Defendant O is accountable under subsection (a)(1)(A) for the drug
         quantity involved on that one occasion. Defendant O is not accountable for the other
         drug sales made by her boyfriend because those sales were not in furtherance of her
         jointly undertaken criminal activity (i.e. the one delivery).

  U.S.S.G. §1B1.3 Note 2, Illustration (c)(5).

         Here, the offense conduct cited in the PSR and the Defendant’s admission of his activity

  in furtherance of jointly undertaken criminal activity support the stipulated drug quantity of at

  least 500 grams but less than 2 kilograms. The Defendant’s agreement with Andre Hutchins was

  to package and deliver cocaine on a few discrete occasions near the end of the conspiracy when

  the primary delivery person, Takiesha McGlaston, was unavailable. It is these amounts that are

  represented by the stipulated drug quantity. The Superseding Indictment charges that the

  conspiracy was ongoing from July 14, 2008, to May 27, 2009, but the evidence before the Court,

  as set forth in the PSR, is that the Defendant was not approached by Andre until April 2009. The

  record does not establish that the scope of the Defendant’s jointly undertaken criminal activity

  was coextensive with that of Andre or the entire conspiracy. Although it was most likely

  foreseeable to the Defendant that Andre was distributing greater quantities of cocaine, the

  evidence is not sufficient to establish that it was foreseeable in connection with their joint

  criminal activity. See Soto-Piedra, 525 F.3d at 533 (holding that “[a]ctions of coconspirators that

  a particular defendant does not assist or agree to promote are generally not within the scope of

  that defendant’s jointly undertaken activity”). Accordingly, the Court accepts the parties’

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  stipulated drug quantity for purposes of applying U.S.S.G. § 2D1.1 and will direct that the

  probation officer revise the PSR consistent with these findings.



  B.     Firearm Enhancement

         The sentencing guidelines require a 2 level increase in the offense level “[i]f a dangerous

  weapon (including a firearm) was possessed.” U.S.S.G. §2D1.1(b)(1). The Commentary to

  § 2D1.1 provides that the adjustment for possessing a firearm “should be applied if the weapon

  was present, unless it is clearly improbable that the weapon was connected with the offense.”

  U.S.S.G. § 2D1.1 Note 3 (noting that the enhancement would not apply, for example, if a

  defendant was arrested at his residence and had an unloaded hunting rifle in the closet). The

  government bears the initial burden of proving by a preponderance of the evidence that the

  defendant possessed a weapon in a place where drugs were present. United States v. Idowu, 520

  F.3d 790, 793 (7th Cir. 2008); United States v. Bjorkman, 270 F.3d 482, 492 (7th Cir. 2001).

         A firearm was found in the Defendant’s bedroom in close proximity to cocaine and

  another handgun was located in the vehicle the Defendant used to make cocaine deliveries. This

  is strong evidence that the firearms were used in connection with his drug activity. United States

  v. Perez, 581 F.3d 539, 546–47 (7th Cir. 2009) (upholding application of enhancement where

  illegal drugs and packaging materials were found inside a house the defendant owned and a gun

  was located in the bedroom of the same home); United States v. Grimm, 170 F.3d 760, 767–68

  (7th Cir. 1999) (holding that it was not “clearly improbable” that a weapon was used in

  connection with a drug offense even though the gun was not found in a place where drugs were

  present but was found in a car that had been used to transport a shipment of drugs six weeks


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  earlier). The Defendant has not articulated any reason why it was clearly improbable that the

  weapon was connected to his drug activity. Instead, he argued in his objection to the PSR that he

  had a permit for the firearms. However, lawful use of a firearm does not vitiate another unlawful

  use. United States v. Shamah, 624 F.3d 449, 459 (7th Cir. 2010). The Court finds that the two

  level increase in the base offense level for possession of a firearm is appropriate and thus accepts

  the parties’ Stipulation on this point.



  C.     Minimal Role Reduction

         According to U.S.S.G. § 3B1.2, a defendant is considered a minimal participant if he is

  plainly among the least culpable of those involved in the conduct. The application notes refer to

  a Defendant who lacks knowledge or understanding of the scope and structure of the enterprise

  and of the activities of others. The 4-level minimal participant reduction is intended to be used

  “infrequently.” U.S.S.G. § 3B1.2 Note 4. By comparison, a minor participant is one who is less

  culpable than most other participants, but whose role could not be described as minimal. The

  reduction for a minor participant is 2 levels. If a case falls between the two, a reduction of 3

  points is appropriate.

         Just because the offense conduct at issue involves only those quantities of drugs that the

  Defendant personally packaged and delivered does not make him ineligible for the mitigating

  role adjustment. The Guideline commentary provides:

         A defendant who is accountable under § 1B1.3 (Relevant Conduct) only for the
         conduct in which the defendant personally was involved and who performs a
         limited function in concerted criminal activity is not precluded from consideration
         for an adjustment under this guideline. For example, a defendant who is convicted
         of a drug trafficking offense, whose role in that offense was limited to
         transporting or storing drugs and who is accountable under § 1B1.3 only for the

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        quantity of drugs the defendant personally transported or stored is not precluded
        from consideration for an adjustment under this guideline

 U.S.S.G. § 3B1.2 Note 3(A). For the reduction to apply, the Court must determine whether the

 Defendant was substantially less culpable than the average participant. Just because a defendant

 may have been less culpable than the leaders of concerted criminal activity does not mean that he

 qualifies as a minor or minimal participant. See United States v. McGee, 408 F.3d 966, 987 (7th

 Cir. 2005); see also United States v. Gallardo, 497 F.3d 727, 741 (7th Cir. 2007) (holding that

 when assessing whether a defendant is entitled to a role reduction, his role “should be compared

 to that of the average member of the conspiracy, not with the leaders”).

        Andre was one of the leaders of the conspiracy, as was his supplier of cocaine, Co-

 defendant Charles Dies. Co-defendant Talitha Hutchins is Andre’s wife. Andre used the

 residence he shared with Talitha to stash cocaine and drug proceeds and as a meeting place to

 distribute cocaine. Talitha was aware of her husband’s drug dealing activity and committed some

 acts of assistance. Co-defendant Arielean Hutchins is Andre’s mother. Andre used his mother’s

 house as a stash house for drugs. Co-Defendant Paris Jones provided Andre with information and

 advice regarding his drug dealing operation so that they could avoid law enforcement

 surveillance and apprehension. In April 2009, Andre recruited his cousin, Co-defendant Takiesha

 McGlaston to became his drug courier after he became concerned about law enforcement

 surveillance. Around this same time, Andre also recruited the Defendant to help with deliveries

 when McGlaston was not available.

        A drug courier can play an integral role in a conspiracy. See United States v. Mendoza,

 457 F.3d 726 (7th Cir. 2006). As a courier, the Defendant not only filled in when McGlaston was

 unavailable to make deliveries, but also helped with packaging the correct quantities.

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 Furthermore, he stored cocaine at his residence when Andre’s mother became concerned about a

 police car in front of her residence. The Defendant possessed a gun in relation to this drug

 activity. The Defendant’s role, when compared to the acts of the co-conspirators, does not lead to

 the conclusion that the Defendant was substantially less culpable than the average participant in

 the conspiracy. The Court will thus accept the parties’ Stipulation that the Defendant is not

 entitled to a role reduction.



                                          CONCLUSION

         For the foregoing reasons, the Court ACCEPTS the Stipulation Regarding Pending

 Objections and Drug Quantity Pursuant to Sentencing Guidelines [ECF No. 312]. The Court

 DIRECTS the probation officer to revise the PSR in accordance with the parties’ Stipulation and

 the Court’s Opinion and Order. The Court CONFIRMS the sentencing date of November 10,

 2011, at 10:30 AM.

         SO ORDERED on November 7, 2011.

                                                      s/ Theresa L. Springmann
                                                      THERESA L. SPRINGMANN
                                                      UNITED STATES DISTRICT COURT




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